Case 1:04-cv-01321-.]DT-STA Document 18 Filed 07/06/05 Page 1 of 2 Page|D 9//

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

PATRlCIA J. HUDSON,

 

Plaintiff,

v. Civi.l No. 04-1321 - T
COMMISSIONER OF SOCIAL SECURITY,

Dcl"endant.

 

ORDER ALLOWING ADDITIONAL TIME TO FILE BRIEF

 

The dcfendant'S motion for additional time to tile abricf is granted The Commissioncr shall

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Judg%l_]ni.ted States District Court

Date: § % W S/

file a brief by July 5, 2005.

This document entered on the docket sheet in compliance
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Honorable J ames Todd
US DISTRICT COURT

